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    16                                UNITED STATES DISTRICT COURT
    17                             CENTRAL DISTRICT OF CALIFORNIA
    18
           IN RE: NATIONAL FOOTBALL                      Case No. 2:15-ml-02668−PSG (SKx)
    19     LEAGUE’S “SUNDAY TICKET”
           ANTITRUST LITIGATION                          JOINT STIPULATION FOR
    20     ______________________________                ORDER REGARDING
    21
                                                         EXPEDITED BRIEFING
           THIS DOCUMENT RELATES TO:                     SCHEDULE ON PRIVILEGE
    22     ALL ACTIONS                                   ISSUES
    23
                                                         Judge: Hon. Philip S. Gutierrez
    24                                                   Pretrial Conference Date: 2/7/2024
                                                         Trial Date: 2/22/2024
    25
                                                         Courtroom: First Street Courthouse
    26                                                               350 West 1st Street
                                                                     Courtroom 6A
    27
                                                                     Los Angeles, CA 90012
    28
                                                   1
          Case No. 2:15-ml-02668-PSG (SKx)             Joint Stipulation for Order Regarding Expedited Briefing
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     1           WHEREAS, this matter is scheduled for trial to commence on February 22,
     2   2024;
     3           WHEREAS, a pretrial conference is scheduled on February 7, 2024;
     4           WHEREAS, on January 16, 2024, counsel for Plaintiffs requested the
     5   production of 38 documents identified on the NFL Defendants’ Initial Privilege Log
     6   served on March 2, 2022 and Supplemental Privilege Log served on June 21, 2022,
     7   as well as agreements with CBS and Fox dated prior to 2005;
     8           WHEREAS, the parties met and conferred regarding this request on January
     9   19, 2024;
    10           NOW THEREFORE, Plaintiffs and the NFL Defendants, by and through their
    11   respective counsel, hereby stipulate and agree as follows:
    12           (1) Subject to finalizing their review, the NFL Defendants will produce
    13                  approximately 26 of the 38 documents at issue, which have been
    14                  identified to Plaintiffs, by Friday, January 26. The NFL Defendants also
    15                  agree to search for and produce by Friday, January 26 any pre-2005
    16                  agreements with CBS and Fox that continue to exist and can be located.
    17           (2) As to the documents represented by the remaining (approximately 12)
    18                  entries on the NFL Defendants’ privilege logs, Plaintiffs will defer filing
    19                  a motion pending inspection of the NFL Defendants’ production and
    20                  review of the NFL Defendants’ revised privilege log, which the NFL
    21                  Defendants also agree to produce by Friday, January 26.
    22           (3) If Plaintiffs thereafter file a motion with respect to any of the remaining
    23                  documents at issue not produced, the parties agree to the following
    24                  expedited briefing schedule that would permit the Court to consider the
    25                  motion at the final pretrial conference on February 7, 2024:
    26                     a. Moving papers shall be due on January 29, 2024.
    27                     b. Opposing papers shall be due on February 2, 2024.
    28                     c. Replies shall be due on February 5, 2024.
                                                       2
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     1

     2   IT IS SO STIPULATED.
     3   Dated: January 22, 2024             Respectfully submitted.
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    15                                          Plaintiffs’ Co-Lead Counsel
    16   All signatories listed, and on whose behalf the filing is submitted, concur in the
    17   filing’s content and have authorized the filing.
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          Case No. 2:15-ml-02668-PSG (SKx)             Joint Stipulation for Order Regarding Expedited Briefing
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